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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,
                                         Crim. No. 05-309 (JAF)
     v.

RUBERTS JOSE GONZALEZ-VALERO,

     Defendant.



                                O R D E R

     In relation to the Court of Appeals’ Order of October 2, 2006,

we note that by saying we lacked jurisdiction, we meant lack of power

to force the Bureau of Prisons to let movant remain at MDC-Guaynabo

pending appeal.    However, the Court of Appeals is correct; we can

still recommend.

     This court has no objection to the Defendant’s request and

recommends as requested.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, this 6th day of October, 2006.

                                         S/José Antonio Fusté
                                          JOSE ANTONIO FUSTE
                                         U. S. District Judge
